Case 2:04-cr-20260-SH|\/| Document 73 Filed 04/19/05 Page 1 of 2 Page|D 86

FOR THE WESTERN DISTRICT OF TENNESSEE

IN THE UNITED sTATEs DISTRICT coURT /L
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Plaintiff, W.D. or TN, rwavzp§xé

v. Cr. NO. 04-20260-Ma

SHELLY PERKINS,

Defendant.

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ORDER ON JURY VERDICT

 

This cause came on for trial on April lB, 2005, the United
States Attorney for this district representing the government, and
defendant, Shelly Perkins, appearing in person and with appointed
counsel, Mr. Edwin Perry.

Jurors were selected and sworn and opening statements were
presented by counsel. After hearing all proof presented, closing
arguments of counsel and jury charge, the jury began deliberations
on April 14, 2005. After due deliberation, the jury returned into
open court on April l4, 2005 and announced a verdict Of GUILTY as
to Counts l and 2 of the Indictment.

Sentencing in this matter is set for Friday, July 15, 2005 at

11:00 a.m. The defendant may remain on her present bond pending

 

sentencing.
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ENTERED this ______ day of April, 2005.
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UNITD sATES ISTRIC COURT - ESTERN DISITRCT oF TENNESSEE

 
       

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20260 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

